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                                         Certificate Number: 15317-TXE-DE-033967967
                                         Bankruptcy Case Number: 19-43290


                                                        15317-TXE-DE-033967967




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 17, 2020, at 5:10 o'clock PM PST, Bruce B Siegel
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Eastern District of Texas.




Date:   January 17, 2020                 By:      /s/Marissa Bartolome


                                         Name: Marissa Bartolome


                                         Title:   Counselor
